                               Case 18-50169-MFW                  Doc 1-1     Filed 01/30/18       Page 1 of 3
                                                                 2600 Eagan Woods Dr, Suite 400              151 West 46th Street, 4th Floor
                                                                 St. Paul, MN 55121                                   New York, NY 10036
                                                                 651-406-9665                                               212-267-7342

Defendant:                 American Realty Capital Hospitality Trust, Inc. dba American Realty Universal
Bankruptcy Case:           RCS Capital Corporation, et al.
Preference Period:         Nov 2, 2015 - Jan 31, 2016
                                                      Transfers During Preference Period

                       Debtor(s) Incurring
Debtor Transferor(s)    Antecedent Debt       Check Number     Check Amt      Clear Date    Invoice Number      Invoice Date      Invoice Amt
Realty Capital           Realty Capital      Wire:1/19/2016b   $32,771.25     1/19/2016     Com:150001570       12/30/2015           $360.88
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016a    $1,304.88     1/19/2016     Com:150001570       12/30/2015           $360.88
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016a    $1,304.88     1/19/2016     Com:150173620        1/13/2016          $8,250.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016a    $1,304.88     1/19/2016     Com:150260840        1/13/2016          $1,440.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016a    $1,304.88     1/19/2016     Com:150331953       12/29/2015          $3,500.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016a    $1,304.88     1/19/2016     Com:150331995       12/30/2015           $944.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016a    $108,449.20    1/5/2016      Com:150009906       12/23/2015         $10,500.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016a    $1,304.88     1/19/2016     Com:150332174        1/13/2016           $206.25
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016       Com:91743         11/27/2015          $4,000.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016b   $32,771.25     1/19/2016     Com:150173620        1/13/2016          $8,250.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016b   $32,771.25     1/19/2016     Com:150260840        1/13/2016          $1,440.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016b   $32,771.25     1/19/2016     Com:150331953       12/29/2015          $3,500.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016b   $32,771.25     1/19/2016     Com:150331995       12/30/2015           $944.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016b   $32,771.25     1/19/2016     Com:150332076        1/14/2016         $19,375.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/12/2016    $20,900.07     1/12/2016       Com:100009         1/7/2016              $0.07
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016a    $1,304.88     1/19/2016     Com:150332076        1/14/2016         $19,375.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016       Com:91440         11/17/2015          $2,025.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/12/2016    $20,900.07     1/12/2016     Com:150037864        1/4/2016           $1,400.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/12/2016    $20,900.07     1/12/2016     Com:150078847        1/5/2016           $2,720.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/12/2016    $20,900.07     1/12/2016     Com:150164167       12/31/2015          $3,480.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/12/2016    $20,900.07     1/12/2016     Com:150331951        1/4/2016           $7,000.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/12/2016    $20,900.07     1/12/2016     Com:150332028        1/4/2016           $6,300.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016       Com:91306         11/16/2015         $15,883.53
Securities, LLC          Securities, LLC


American Realty Capital Hospitality Trust, Inc. dba American Realty Universal (2076386)
Bankruptcy Case: RCS Capital Corporation, et al.
Jan 26, 2018                                                          Exhibit A                                                      P. 1
                               Case 18-50169-MFW                  Doc 1-1     Filed 01/30/18      Page 2 of 3
                                                      Transfers During Preference Period

                       Debtor(s) Incurring
Debtor Transferor(s)    Antecedent Debt       Check Number     Check Amt      Clear Date   Invoice Number    Invoice Date   Invoice Amt
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91828       12/4/2015       $2,643.50
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91369       11/16/2015      $1,155.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91766       12/1/2015       $1,200.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91445       11/17/2015      $2,025.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91561       11/19/2015        $348.75
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91626       11/23/2015      $3,200.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91627       11/23/2015        $927.08
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91672       11/24/2015      $2,550.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016a    $108,449.20    1/5/2016     Com:150018078     12/30/2015      $2,800.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/13/2016    $42,341.86     1/13/2016      Com:91323       11/16/2015      $6,384.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150039196-8   12/29/2015     $35,000.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150021488     12/28/2015        $512.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150037867     12/29/2015     $13,300.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150037873     12/23/2015      $1,470.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150039196-1   12/29/2015     $21,700.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150039196-2   12/29/2015     $30,300.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/19/2016b   $32,771.25     1/19/2016    Com:150332174     1/13/2016         $206.25
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150039196-7   12/29/2015     $10,552.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016a    $108,449.20    1/5/2016     Com:150332023     12/31/2015      $3,875.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150039196-9   12/29/2015     $30,300.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150150570     12/30/2015      $6,000.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150294830     12/28/2015        $581.25
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150295016-1   12/24/2015      $2,400.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150295016-2   12/28/2015        $172.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150331952     12/29/2015      $3,500.00
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016b     $1,403.25     1/5/2016     Com:150039196-3   12/29/2015     $15,564.20
Securities, LLC          Securities, LLC
Realty Capital           Realty Capital      Wire:1/5/2016a    $108,449.20    1/5/2016     Com:150039196-9   12/29/2015     $30,300.00
Securities, LLC          Securities, LLC



American Realty Capital Hospitality Trust, Inc. dba American Realty Universal (2076386)
Bankruptcy Case: RCS Capital Corporation, et al.
Jan 26, 2018                                                          Exhibit A                                               P. 2
                                  Case 18-50169-MFW                 Doc 1-1     Filed 01/30/18      Page 3 of 3
                                                        Transfers During Preference Period

                        Debtor(s) Incurring
Debtor Transferor(s)     Antecedent Debt        Check Number     Check Amt      Clear Date   Invoice Number    Invoice Date   Invoice Amt
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150021488     12/28/2015        $512.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150037867     12/29/2015     $13,300.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150037873     12/23/2015      $1,470.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150039196-1   12/29/2015     $21,700.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150039196-2   12/29/2015     $30,300.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150039196-3   12/29/2015     $15,564.20
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016b    $1,403.25     1/5/2016     Com:150018078     12/30/2015      $2,800.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150039196-8   12/29/2015     $35,000.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016b    $1,403.25     1/5/2016     Com:150009906     12/23/2015     $10,500.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150150570     12/30/2015      $6,000.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150294830     12/28/2015        $581.25
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150295016-1   12/24/2015      $2,400.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150295016-2   12/28/2015        $172.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150331952     12/29/2015      $3,500.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016b    $1,403.25     1/5/2016     Com:150332023     12/31/2015      $3,875.00
Securities, LLC             Securities, LLC
Realty Capital              Realty Capital      Wire:1/5/2016a   $108,449.20    1/5/2016     Com:150039196-7   12/29/2015     $10,552.00
Securities, LLC             Securities, LLC

       Totals:         6 transfer(s),   $207,170.51




American Realty Capital Hospitality Trust, Inc. dba American Realty Universal (2076386)
Bankruptcy Case: RCS Capital Corporation, et al.
Jan 26, 2018                                                            Exhibit A                                               P. 3
